            Case 3:24-cv-00122-BAJ-RLB        Document 25      03/28/24 Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA

    FLORIDA GAS TRANSMISSION                        CIVIL ACTION NO.: 3:24-cv-00122-
    COMPANY, LLC                                    BAJ-RLB


    V.                                              JUDGE: BRIAN A. JACKSON

    8.22 ACRES, MORE OR LESS,
                                                    MAGISTRATE JUDGE: RICHARD L.
    SITUATED IN IBERVILLE PARISH,
                                                    BOURGEOIS, JR.
    LOUISIANA, MURRELL FAMILY
    L.L.C, AND FOREST HOME
    PLANTATION, L.L.C



                     REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                               NOTICE OF CONDEMNATION

          NOW INTO COURT, through undersigned counsel, comes Plaintiff Florida Gas

Transmission Company, LLC (“Florida Gas”), who respectfully submits this Reply to Defendants’

Response to Plaintiff’s Notice of Condemnation.1

I.        BACKGROUND

          Plaintiff filed its Original Complaint in Condemnation on February 19, 2024 seeking to

condemn property owned by the Forest Home Plantation, L.L.C. and the Murrell Family, L.L.C.

(collectively “Defendants”).2 Plaintiff then filed the Notice of Condemnation on February 22,

2024.3 The Original Complaint in Condemnation and the Notice of Condemnation were served on

all Defendants on March 1, 2024.4 However, on February 23, 2024, the Court issued the Amended



1
    R. Doc. 22.
2
    See R. Doc. 1.
3
    R. Doc. 12.
4
    See R. Doc. 16; R. Doc. 17; R. Doc. 18.


                                                1
            Case 3:24-cv-00122-BAJ-RLB            Document 25       03/28/24 Page 2 of 4




Scheduling Order, providing the Defendants a deadline of March 14, 2024, to respond to Plaintiff’s

Notice of Condemnation, and a deadline of March 28, 2024, for Plaintiff to file any responsive

briefing.5 On March 14, 2024, Defendants responded to Plaintiff’s Notice of Condemnation.6

           In their response, Defendants correctly represent that all parties are in active settlement

discussions and believe that the parties will resolve this dispute prior to this Court’s hearing on

Plaintiff’s Motion to Confirm Condemnation of Servitudes and for Preliminary Injunction,7 set for

May 15, 2024.8 Because of this, Defendants prayed that the Court “dismiss as moot Plaintiff’s

Notice of Condemnation at Plaintiff’s sole cost and expense, award Defendants all fees and costs

of court, and for all other and further relief, at law or in equity , to which Defendants are entitled.”9

However, this Court should not dismiss Plaintiff’s Notice of Condemnation, and Defendants are

not entitled to fees or costs associated with the instant action.

II.        ANALYSIS

           A.      The Court Should Not Dismiss Plaintiff’s Notice of Condemnation

           Federal Rule of Civil Procedure 71.1 governs the process of condemning real or personal

property. The rule provides that “Notice must be served on all defendants . . . ,” and that “On filing

a complaint, the plaintiff must promptly deliver to the clerk joint or several notices directed to the

named defendants.”10 The Federal Rules further provide strict requirements for the contents and

service of the notice.11 Defendants do not allege that the notice does not comply with all the


5
    See R. Doc. 14.
6
    See R. Doc. 22.
7
    R. Doc. 3
8
    R. Doc. 14.
9
    R. Doc. 22 at 2.
10
     Fed. R. Civ. P. 71.1(c)(4) and 71.1(d)(1)
11
     See Fed. R. Civ. P. 71.1(d)


                                                    2
         Case 3:24-cv-00122-BAJ-RLB               Document 25        03/28/24 Page 3 of 4




requirements set forth in Rule 71.1, nor do Defendants allege that they were not properly served

with the notice. Further, Defendants cite no authority for their prayer to dismiss the notice.

Dismissing or striking the Notice of Condemnation would be inappropriate as Plaintiff has adhered

to all applicable requirements under Rule 71.1, and striking the notice would create a procedural

issue if the matter is not resolved through settlement discussions. The result would be that despite

following all requirements of Rule 71.1, Plaintiff would be unable to maintain the instant

condemnation action as the record would not reflect the notice requirement was satisfied under

Rule 71.1(c) and 71.1(d). Therefore, the Court should reject Defendants’ request to dismiss

Plaintiff’s Notice of Condemnation.

        B.      Defendants Are Not Entitled to Fees and Costs

        Defendants are not entitled to the fees and costs of court as prayed. “The ‘American rule’

ordinarily requires parties to shoulder their own counsel fees and other litigation expenses absent

statutory or contractual authority for an alternative allocation.”12 Importantly, Defendants have

failed to cite a single law or contractual agreement that would entitle them to fees and costs. Neither

the Natural Gas Act or Fed. R. Civ. P. 71.1 provide for recovery of attorneys’ fees, and Defendants

provide no additional authority to suggest otherwise. As such, this Court should reject Defendants’

prayer for fees and costs.




12
  Batson v. Neal Spelce Assocs., Inc., 805 F.2d 546, 550 (5th Cir. 1986) (citing Alyeska Pipeline Serv. Co.
 v. Wilderness Soc., 421 U.S. 240 (1975)).


                                                    3
         Case 3:24-cv-00122-BAJ-RLB           Document 25       03/28/24 Page 4 of 4




III.   CONCLUSION

       For the reasons stated in the instant Reply, Plaintiff requests that this Court not dismiss

Plaintiff’s Notice of Condemnation, or grant Defendants’ fees and costs of court as prayed in their

Response to Plaintiff’s Notice of Condemnation.

                                             Respectfully submitted,

                                             /s/ Matthew D. Simone__________________
                                             Cheryl M. Kornick (Bar#19652)
                                             Matthew D. Simone (Bar# 32690)
                                             Zachary D. Berryman (Bar# 40278)
                                             LISKOW & LEWIS
                                             701 Poydras Street, Suite 5000
                                             New Orleans, Louisiana 70139
                                             Telephone: 504-581-7979
                                             Facsimile: 504-556-4108
                                             Email: cmkornick@liskow.com
                                                     mdsimone@liskow.com
                                                     zberryman@liskow.com

                                             Attorneys for Florida Gas Transmission Company,
                                             LLC



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing motion has been served upon

all counsel of record below by e-filing notice, by placing same in United Sates mail, properly

addressed and postage prepaid, and/or by electronic mail this 28th day of March, 2024.

                                             /s/ Matthew D. Simone




                                                4
